Case 1:18-cv-22923-DPG Document 5-3 Entered on FLSD Docket 07/26/2018 Page 1 of 3



                          Gompetent Labor Authorities in Other Gountries
                          See Annex 7 Tor a list of competent labor authorities in other countries
                          where and if available.

                          and to Norwegian's Vice President of Fleet Personnel at

                         NGL (Bahamas) Ltd.
                         Airport Corporate Center
                         7665 Corporate Center Drive
                         Miami, Florida 33126, USA
                         PH: +1-305-436-4456,
                         FX: +1-305-436-4138
                         EM: FPGrievance@ncl.com

                          Within ninety (90) days of receipt of such notice, the representatives
                          of the Union(s) and Norwegian shall confer to resolve the dispute.
                          Upon request the parties will as soon as possible mutually produce to
                          each other all non-privileged documents and information available
                          relevant to the dispute, including but not limited to the any statement
                          by the Seafarer taken by Norwegian, Disciplinary Committee
                          documents, medical records, and pertinent personnel files. The
                          Seafarer shall receive notification within ninety (90) days after the
                          decision.
                   2.    The parties shall investigate whether the On Board Complaint
                         Procedures set forth above were followed and shall encourage that
                         such procedures be exhausted unless the particular circumstances of
                         the case prevent it.

                   3     All shoreside complaint procedures followed in addressing the
                         complaint and the decision concerning the complaint shall be set forth
                         in a written document, and a copy of the document shall be provided
                         to the Seafarer.

                   4     The decision of the Master shall govern until the claim or grievance is
                         resolved by representatives of the Union(s) and Norwegian. lf the
                         Seafarer is continuing to serve in his/her assigned capacity during the
                         resolution process, he/she shall continue to peacefully and
                         satisfactorily perform his/her duties, and the parties shall faithfully
                         observe this Agreement while the grievance, complaint or dispute is
                         being resolved.

              6.   Arbitration

                   a     Any and all claims, grievances and disputes of any kind whatsoever
                         between the Unions and/or the Seafarer, on one side and Norwegian
                         andlor the Master and/or the Employer and/or the Ship Owner and/or
                         the Vessel and/or Vessel Operator on the other side which arise from,
                         are in any way related to or are in connection with the Seafarer's
                         shipboard employment with Norwegian shall be referred to and
                         resolved exclusively by binding arbitration pursuant to the United
                         Nations Convention on Recognition and Enforcement of Foreign
Case 1:18-cv-22923-DPG Document 5-3 Entered on FLSD Docket 07/26/2018 Page 2 of 3



                        Arbitral Awards (New York 1958)("The Convention"), except as
                        othen¡vise provided in any government mandated contract, such as
                        the Standard POEA Contract for Seafarers from the Philippines. ln
                        addition, the Unions, Seafarer, and Norwegian agree that the
                        Arbitrator shall have exclusive authority to resolve any claims,
                        grievances, and, disputes such as the interpretation, procedures,
                        location, applicable law, validity and enforceability of the arbitration
                        provision of this Agreement.

                   b.   The arbitration shall be administered by the lnternational Centre for
                        Dispute Resolution ("|CDR"), a division of the American Arbitration
                        Association ("AufuAn) under its lnternational Dispute Resolution
                        Procedures. The initiating party shall file a written notice of its
                        intention to arbitrate by forwarding a demand for arbitration
                        ("Demand") to Noruuegian and Noruregian's registered agent via
                        certified mail. The Demand shall identify each party to the case, the
                        initiating party's representative(s), and shall include a description of
                        the nature of the claim, the estimated amount in controversy and the
                        relief and/or damages sought. Nonruegian, the Seafarer, or the Unions
                        may initiate arbitration by filing a Demand with the ICDR at
                        http://www.icdr.org.

                   c    Arbitration between the Union(s) and Noruregian, or between a
                        Seafarer and Nonvegian and not involving the Union(s) as a party,
                        shall take place in Miami, Florida unless Seafarer has been denied a
                        visa for entry into the United States after all available efforts have
                        been exhausted and in which case the arbitration shall take place in
                        Nassau, Bahamas. ln the event Seafarer is unable to obtain a visa
                        for entry into Nassau, Bahamas after all available efforts have been
                        exhausted, then the arbitration shall take place in the Seafarer's
                        country of citizenship, if such country has ratified the Convention. ln
                        the event Miami, Florida, Nassau, Bahamas and the Seafarer's home
                        country are unavailable for the arbitration to take place, then the
                        arbitrator shall determine the location.

                   d    The Arbitrator is to be jointly appointed by the Union(s) and/or the
                        Seafarer, on one side, and Norwegian, on the other side, unless the
                        parties cannot agree to an Arbitrator, in which case the AvAA shall
                        select the Arbitrator from among six names, three submitted by the
                        Union(s) or the Seafarer and three submitted by Norwegian. The
                        parties shall have the right in the arbitration to conduct depositions
                        under oath of parties and witnesses however depositions shall be
                        limited to a maximum of three (3) per party and shall be limited to a
                        maximum of seven (7) hours in duration each. Additional depositions
                        may be scheduled only with the permission of the Arbitrator for good
                        cause shown. The parties are entitled to medical examination(s) to
                        verify any injuries or damages claimed, or to rebut any defenses. To
                        maintain the impartiality of the examination, neither party's attorney,
                        agent, nor representative shall be present during Norwegian's
                        examination. The parties will exchange all documentation to be relied
Case 1:18-cv-22923-DPG Document 5-3 Entered on FLSD Docket 07/26/2018 Page 3 of 3



                        upon at the final arbitration hearing in accordance with the
                        lnternational Dispute Resolution Procedures of the ICDR.

                   e.   ln the event a dispute between the Union(s) and Norwegian, or
                        between Norwegian and a Seafarer, cannot be resolved through good
                        faith negotiations and either party commences an arbitration
                        proceeding, Norwegian shall bear the reasonable costs related to the
                        arbitration process from beginning to end including, but not limited to
                        fees charged and expenses incurred by arbitrators, and any costs
                        related to proceedings necessary to enforce a decision regardless of
                        who represents the Seafarer. Each party shall bear the costs of their
                        own attorney fees and legal representation.

                   f    lf the Seafarer rejects the representation appointed by the Union(s) at
                        arbitration or thereafter, or ¡f he or she initiates arbitration
                        independently, then he or she will cover the cost of his or her own
                        legal representation, if any. lf the Seafarer is not represented by the
                        Union(s), and where the Arbitrator is in doubt, the Arbitrator should
                        seek the Union(s)' opinion as to the intent of the applicable provision
                        at issue in the Agreement before making a decision. lf the Arbitrator
                        makes a decision after seeking the Union(s)' opinion, the Union(s)
                        shall be informed of the Arbitrator's decision.
                   g    Nonruegian, the Union(s), and the Seafarer also acknowledge that
                        they voluntarily and knowingly waive any right they have to a jury trial.
                        The arbitration referred to in this Article is exclusive and mandatory.
                        Lawsuits or other proceedings between any Seafarer and/or the
                        Union(s) and Norwegian may not be brought except to enforce the
                        arbitration provision of this Agreement or to enforce a decision of the
                        Arbitrator. The Arbitrator may award reasonable attorneys' fees and
                        expenses to the prevailing party if allowed by statute or applicable
                        law.

                   h    lf the dispute is one involving the amount of wages owed or paid to
                        the Seafarer, the parties agree that Non¡vegian shall have the right,
                        without incurring any further liability, within sixty (60) days of
                        Nonruegian's Vice President of Fleet Personnel receiving the written
                        notice described in Article 29.5.C.1 from the Seafarer of the dispute
                        or complaint and dissatisfaction with the Master's decision, to either
                        pay the amount claimed by the Seafarer or to commence an
                        arbitration to resolve the claim and deposit the amount claimed into
                        an interest-bearing account pending a legal determination of whether
                        the claim has merit. ln the event Norwegian deposits the claimed
                        amount as provided herein, the parties agree that the sole amount to
                        be paid to the Seafarer if his/her claim if determined to be meritorious
                        will be the amount claimed plus any accrued interest.

                        The Seafarer shall continue to satisfactorily and in good faith perform
                        his/her duties and the parties shall abide by this Agreement while
                        disputes or grievances are being resolved.                    ,
